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A portion of this Exhibit has been redacted to protect information that has been marked as
“Highly Confidential Subject to Settlement Discussions Confidentiality Agreement”




                                                                          EXHIBIT B
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